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10                         UNITED STATES DISTRICT COURT
11                      SOUTHERN DISTRICT OF CALIFORNIA
12   ENRIQUE VAZQUEZ, SERGIO                   CASE NO: 16-CV-02749-WQH (BLM)
13   ALFONSO LOPEZ, and MARIA                    Consolidated w/
     VIVEROS, individually and on behalf of CASE NO: 17-cv-00077-WQH(BLM)
14   themselves and others similarly situated, CLASS ACTION
15                Plaintiff,                   DECLARATION OF PAUL K.
           vs.                                 HAINES   IN SUPPORT OF
16                                             PLAINTIFFS’ MOTION FOR
                                               FINAL APPROVAL OF CLASS
17   KRAFT HEINZ FOODS COMPANY, a ACTION SETTLEMENT
18   Pennsylvania Corporation, and DOES 1 DATE:           March 20, 2020
     through 25, inclusive,                    TIME:      9:00 a.m.
19
                  Defendants.                   DEPT:           Courtroom 14B
20                                              JUDGE:          Hon. William Q. Hayes
                           .
21                                              No Oral Argument Unless Requested
22                                              By Court

23                                              Action filed:        September 8, 2016
24                                              Removed:             November 7, 2016
                                                Trial Date:          None Set
25

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          HAINES DECLARATION ISO PLAINTIFFS’ MOTION FOR FINAL APPROVAL
 1   I, PAUL K. HAINES, declare as follows:
 2         1.      I am the principal of Haines Law Group, APC, and counsel for the
 3   named Plaintiffs Enrique Vazquez, Sergio Alfonso Lopez, Maria Viveros and
 4   Xochitl Lozano (collectively “Plaintiffs”) and the proposed Class Members in the
 5   above-captioned matter. I am a member in good standing of the bar of the State of
 6   California and am admitted to practice in this Court. I have personal knowledge
 7   of the facts stated in this declaration and could testify competently to them if
 8   called upon to do so.
 9         2.      I am a 2006 graduate of Pepperdine University School of Law, where
10   I graduated cum laude. During law school, I worked as a law clerk for the
11   appellate firm of Horvitz & Levy, located in Encino, California.    I also spent a
12   semester in law school working as an extern for the Honorable Edward Rafeedie,
13   District Judge for the United States District Court for the Central District of
14   California.
15         3.      Since graduating from law school, my practice has focused
16   exclusively on employment litigation. In September 2007, I began working as an
17   associate attorney at the international law firm of Littler Mendelson P.C., at its
18   Los Angeles office, which according to its website is the “largest U.S.-based law
19   firm exclusively devoted to representing management in every aspect of labor and
20   employment law.” While at Littler Mendelson, I was primarily staffed on wage
21   and hour class actions venued in both state and federal courts, and I also worked
22   on a number of single and multi-plaintiff wage and hour matters as well.
23         4.      During my employment at Littler Mendelson, I played a significant
24   role in the class actions that I was staffed on, as I was often the only associate
25   staffed on such cases. In particular, I received a wide-array of wage and hour
26   class action experience performing the following types of tasks: drafting
27   demurrers, motions to strike and/or dismiss; removing actions from state court to
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          HAINES DECLARATION ISO PLAINTIFFS’ MOTION FOR FINAL APPROVAL
 1   federal court; drafting and responding to written discovery; drafting and opposing
 2   discovery related motions; arguing discovery related motions; drafting motions to
 3   consolidate related matters; interviewing putative class members and obtaining
 4   declarations in connection with class certification; drafting oppositions to motions
 5   for class certification; drafting motions for decertification following class
 6   certification; conducting exposure analyses to assess the strengths and weaknesses
 7   of asserted claims, the likelihood of prevailing at class certification and potential
 8   damages resulting from such claims; drafting mediation briefs; serving as the
 9   primary contact to in-house counsel; deposing named plaintiffs and putative class
10   members; deposing retained expert witnesses; and defending the depositions of
11   corporate witnesses. In short, I played an integral role in all aspects of litigation
12   from the inception of a matter through and beyond class certification. I also
13   supervised the work of several junior attorneys who were staffed on the same
14   wage and hour class actions.
15         5.     In June 2011, I voluntarily resigned from Littler Mendelson in order
16   to accept an associate attorney position with the international law firm of Morgan,
17   Lewis & Bockius LLP, at its Los Angeles office, where I began working in July
18   2011. During my employment at Morgan, Lewis & Bockius LLP, I worked
19   exclusively on the defense of wage and hour class and collective actions. For the
20   vast majority of these cases, I was the only associate staffed on the matter, and I
21   performed the same job duties as described in the immediately preceding
22   paragraph. In addition to working on wage and hour class actions, at Morgan,
23   Lewis & Bockius I also worked on a number of “hybrid” actions asserting
24   nationwide wage and hour claims under the Fair Labor Standards Act (“FLSA”),
25   as well as California-specific claims under Rule 23 of the Rules of Civil
26   Procedure.
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          HAINES DECLARATION ISO PLAINTIFFS’ MOTION FOR FINAL APPROVAL
 1          6.      In July 2012, I transitioned into litigating wage and hour class actions
 2   from the Plaintiff’s side, first as a Partner with the law firm of Boren, Osher &
 3   Luftman, LLP, and since February 2016, as a Shareholder of Haines Law Group,
 4   APC.        Currently, over ninety percent (90%) of my practice is dedicated
 5   exclusively to the prosecution of wage and hour class actions, and my law firm is
 6   currently responsible for prosecuting over fifty (50) wage and hour class actions
 7   filed in both state and federal courts throughout California. I have been appointed
 8   as Class Counsel in over two hundred (200) wage and hour class action
 9   settlements in state and federal courts within California. A few examples of the
10   matters in which I have been appointed as Class Counsel, all of which have been
11   granted final approval, include the following: Sanchez v. Res-Care, Inc., Case No.
12   BC526175, California Superior Court, County of Los Angeles, Honorable Judge
13   John S. Wiley, presiding (in which I was approved for an hourly rate of $550 for
14   work performed in 2013, 2014 and 2015); Prado v. Warehouse Demo Services,
15   Inc., Case No. CV14-3170 JFW (Ex), United States District Court, Central
16   District of California, Honorable Judge John F. Walter, presiding (in which I was
17   approved for an hourly rate of $550 for work performed in 2014 and 2015);
18   Longstreth v. PAQ, INC, Case No. 15CV-0206, California Superior Court, County
19   of San Luis Obispo, Honorable Judge Charles S. Crandall, presiding; Vega v.
20   Weatherford U.S., Limited Partnership, Case No. CV14-1790-JLT, United States
21   District Court, Eastern District of California, Honorable Jennifer L. Thurston,
22   presiding; and Tesla Motors Wage and Hour Litigation, JCCP 4792, California
23   Superior Court, Santa Clara County, Honorable Judge Peter H. Kirwan presiding
24   (approved an hourly rate of $575 for work performed in 2013, 2014, 2015, and
25   2016); Bower v. Cycle Gear, Inc., Case No. 3:14-cv-02712-HSG, Honorable
26   Judge Haywood S. Gilliam, Jr. presiding (approved at an hourly rate of $575 for
27   work performed in 2014 and 2015).
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          HAINES DECLARATION ISO PLAINTIFFS’ MOTION FOR FINAL APPROVAL
 1         7.     I have also moved to certify and received an order certifying a class
 2   action and/or conditionally certifying a collective action, on a contested motion in
 3   the following cases:
 4      • Medeiros v. Vortex Financial Management Inc., Case No. 30-2013-
 5         00644741-CU-OE-CXC, California Superior Court, County of Orange,
 6         Honorable Judge Gail A. Andler, presiding (certifying a class of employees
 7         who were misclassified as independent contractors);
 8      • Javine v. San Luis Ambulance Service, Inc., Case No. CV13-07480 BRO
 9         (SSx), United States District Court, Central District of California,
10         Honorable Judge Beverly Reid O’Connell, presiding (conditionally
11         certifying an unpaid FLSA overtime wage class);
12      • Prado v. Warehouse Demo Services, Inc., Case No. CV14-3170 JFW (Ex),
13         United States District Court, Central District of California, Honorable Judge
14         John F. Walter, presiding (certifying a rest period violation class and
15         conditionally certifying an FLSA unpaid overtime wage class);
16      • Bower v. Cycle Gear, Inc., Case No. CV14-2712 HSG, United States
17         District Court, Northern District of California, Honorable Judge Haywood
18         S. Gilliam, Jr., presiding (conditionally certifying an unpaid FLSA overtime
19         wage class);
20      • Vega v. Weatherford U.S., Limited Partnership, Case No. CV14-1790-JLT,
21         United States District Court, Eastern District of California, Honorable
22         Jennifer L. Thurston, presiding (conditionally certifying an unpaid FLSA
23         overtime wage class);
24      • Galvan v. AMVAC Chemical Corporation, Case No. 30-2014-00716103-
25         CU-OE-CXC, California Superior Court, County of Orange, Honorable
26         Judge William Claster, presiding (certifying unpaid overtime wage class
27         and waiting time penalty class);
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          HAINES DECLARATION ISO PLAINTIFFS’ MOTION FOR FINAL APPROVAL
 1      • Ontiveros v. Safelite Fulfillment, Inc., et al, Case No. CV 15-7118-DMG
 2         (RAOx), United States District Court, Central District of California,
 3         Honorable Dolly M. Gee presiding (certifying six classes of employees for
 4         rest period violations, wage statement violations, meal period violations,
 5         and overtime and double-time violations);
 6      • Vazquez, et al v. Kraft Heinz Foods Company, Case No. 16-cv-2749-WQH-
 7         BLM, United States District Court, Southern District of California,
 8         Honorable William Q. Hayes presiding (certifying six classes of employees
 9         for unpaid wages, meal period violations, wage statement violations, and
10         waiting time penalties); and
11      • Caudle, et al. v. Sprint/United Management Company, et al. Case No. C 17-
12         06874-WHA, United States District Court, Northern District of California,
13         Honorable William H. Alsup presiding (certifying three classes of
14         employees for unlawful wage deduction violations, wage statement
15         violations, and waiting time violations).
16         8.     In 2015, 2016 and 2017, Thomson Reuters and Los Angeles
17   Magazine recognized me as a Top Young Attorney in Southern California in the
18   annual Rising Star Edition of Super Lawyer. This is an honor awarded to no more
19   than two and a half percent of attorneys under the age of forty in Southern
20   California each year. In 2018, 2019 and 2020 Thomson Reuters recognized me as
21   a “Super Lawyer” in the annual Super Lawyer magazine, an honor awarded to no
22   more than five percent of all attorneys in Southern California each year.
23         9.     As counsel for Plaintiffs and the proposed Settlement Class, I have
24   been intimately involved in every aspect of this case from its inception through
25   the present, and I believe that the proposed Settlement is an excellent result for the
26   Settlement Class when viewed against their relatively small potential recovery
27   were they to prevail at trial.
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          HAINES DECLARATION ISO PLAINTIFFS’ MOTION FOR FINAL APPROVAL
 1         10.    Significant discovery was conducted in this litigation. For example,
 2   nearly thirty depositions were taken, consisting of three separate sessions of a
 3   Rule 30(b)(6) deposition; depositions of the named Plaintiffs Vasquez, Lopez and
 4   Viveros (only Plaintiff Lozano was not deposed); and depositions of twenty-three
 5   putative Class Members. Significant written discovery was propounded and
 6   responded to by the parties, consisting of multiple sets of interrogatories, requests
 7   for production and requests for admissions. Plaintiffs also brought a Motion to
 8   Compel further discovery which was granted and part and denied in part, but
 9   which critically limited the discovery that Plaintiffs could conduct to the two
10   locations at which the named Plaintiffs worked. Although the Court’s discovery
11   order limited the discovery that Plaintiffs could conduct to the two locations at
12   which Plaintiffs worked, during the deposition of Defendants’ Rule 30(b)(6)
13   witnesses, Plaintiffs’ counsel requested a telephonic conference with Magistrate
14   Judge Major that resulted in her expanding the scope of her prior discovery order
15   to allow limited discovery beyond the two facilities at which the named Plaintiffs
16   worked, and which ultimately led to the certification of several classes that
17   included employees beyond the two locations at which the named Plaintiffs
18   worked.
19         11.    During the discovery process, the Parties exchanged over 50,000
20   pages of documents and Defendant produced 700 excel spreadsheets containing
21   thousands of lines of data that included Class Member payroll and timekeeping
22   records. In connection with evaluating this timekeeping and payroll data,
23   Plaintiffs’ counsel retained an expert holding a Ph.D. in economics. Due to the
24   complex nature of the data and difficulty in evaluating it, Plaintiffs’ counsel
25   incurred significant out-of-pocket expert fees to evaluate the data and to prepare a
26   comprehensive written report in support of Plaintiffs’ Motion for Class
27   Certification. Although I have litigated hundreds of wage and hour class actions, I
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          HAINES DECLARATION ISO PLAINTIFFS’ MOTION FOR FINAL APPROVAL
 1   never encountered the unique issues and difficulties that were present with the
 2   timekeeping and payroll data in this case, which made it expensive to have
 3   analysed by Plaintiffs’ retained expert.
 4         12.    Plaintiffs’ counsel was also provided with the contact information for
 5   nearly 950 Class members, and Plaintiffs’ counsel attempted to reach every single
 6   one of these individuals by mail and/or telephone for the purposes of interviewing
 7   the putative class related to the claims at issue for purpose of class certification,
 8   and Plaintiffs’ counsel did in fact interview over one hundred Class Members.
 9   Ultimately Plaintiff’s counsel interviewed upwards of 100 Class Members.
10         13.    On March 18, 2019, the Parties participated in a private mediation
11   session with Jeff Ross, a well-regarded and experienced wage and hour class
12   action mediator. To prepare of a meaningful mediation, Defendant informally
13   produced additional data beyond what was produced in formal discovery that
14   allowed Plaintiffs’ counsel to assess the strengths and weaknesses of the claims
15   alleged and to calculate exposure for damages and penalties on a classwide basis.
16   At the end of the mediation, the Consolidated Action could not be settled,
17   however, with the mediator’s continued involvement over the course of the next
18   several days, settlement of the principle terms was reached by way of a double-
19   blind mediator’s proposal that was accepted by both sides.
20         14.    I believe the proposed Settlement is in the best interest of the Class
21   based on the extensive discovery and litigation of the claims being settled and
22   released. The length and risks of trial and other normal perils of litigation that
23   affect the value of the claims were all weighed in reaching the proposed
24   Settlement. In addition, the defenses argued by Defendant, the prospect of a
25   reversal of the Class certification, an adverse summary judgment ruling, the
26   difficulties of complex litigation, the difficult process of establishing specific
27   damages and various possible delays and uncertainty regarding the outcome of
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          HAINES DECLARATION ISO PLAINTIFFS’ MOTION FOR FINAL APPROVAL
 1   appeals that could have led to decertification of the Classes were also carefully
 2   considered by Class Counsel in agreeing to the proposed Settlement.
 3         15.    This action and the companion actions that are part of this
 4   consolidated action were litigated for approximately three and a half years. Below
 5   is a table that summarizes the hours and billable rates spent by the attorneys (year
 6   of law school graduation in parentheses) and paralegals at my law firm who have
 7   worked on this matter over the past three and a half years:
 8
 9                 Name                    Rate         Hours             Lodestar
10         Paul K. Haines (2006)           $650          482.5            $313,625
11        Sean M. Blakely (2009)           $550          364.7            $200,585
12        Tuvia Korobkin (2009)            $550           88.5             $48,675
13         Daniel Brown (2015)             $400          380.2            $152,080
14        Stacey M. Shim (2015)            $400          220.6             $88,240

15            Jamin Xu (2018)              $325          106.2             $34,515

16               Paralegals                $175          180.5             $31,587

17
                              Total Lodestar                              $869,307

18         16.    Even without adjusting the Laffey Matrix figures upwards to account
19   for the higher cost of living in this District (as compared to the District of
20   Columbia), the Laffey Matrix demonstrates that Class Counsel’s requested hourly
21   rates are reasonable. I believe that these hourly rates are reasonable because they
22   are in line with the rates at which the above attorneys have previously been
23   approved; because of their skill, wage and hour class action experience and
24   reputation; fee awards to other attorneys of similar experience in this District; and
25   the rates set forth in the Laffey Matrix. A true and correct copy of the 2019 Laffey
26   Matrix is attached hereto as Exhibit A.
27
                                        9
          HAINES DECLARATION ISO PLAINTIFFS’ MOTION FOR FINAL APPROVAL
 1         17.     My law firm and Plaintiffs seek $104,783.72 in out-of-pocket costs
 2   reasonably incurred in litigating this matter. The costs Plaintiffs seek to recover
 3   are the types of costs that are routinely approved by California federal courts.
 4   Moreover, not a single Settlement Class member has filed an objection to the
 5   Settlement, including Class Counsel’s collective request for up to $175,000 for
 6   reimbursement of costs (although Class Counsel collectively are only seeking
 7   actual costs expended of $150,584.72). A true and correct copy of my law firm’s
 8   out-of-pocket expenses are summarized below by expense category:
 9
                   EXPENSE                        AMOUNT
10                 Mediation Costs                $3,000.00
                   Expert Costs                   $67,313.56
11
                   Filing, Pacer, Service, and
                                                  $4,760.54
12                 Messenger Fees
                   Deposition and Transcript
13                                                $20,611.76
                   Costs
14                 Copying and Postage Costs      $4,159.69
15                 Travel Expenses                $3,977.43
                   Westlaw Charges                $960.74
16                 TOTAL:                         $104,783.72
17         I declare under penalty of perjury under the laws of the United States that
18   the foregoing is true and correct. Executed on February 21, 2020, at El Segundo,
19   California.
20                                                    /s/ Paul K. Haines
                                                          Paul K. Haines
21

22                                    ECF Certification
23         I attest that I have obtained concurrence regarding the filing of this
24   document from Paul K. Haines, the signatory to this declaration.
25   Date: February 21, 2020          s/ Diana M. Khoury
                                      Diana M. Khoury
26                                    COHELAN KHOURY & SINGER
                                      Attorney for Plaintiffs and the Certified Classes
27
                                       10
          HAINES DECLARATION ISO PLAINTIFFS’ MOTION FOR FINAL APPROVAL
EXHIBIT A
10/15/2018                                                             matrix




                                                                                  Years Out of Law School *

                                                                     Paralegal/
                                                          Adjustmt   Law
                                       Year               Factor**   Clerk            1-3      4-7    8-10    11-19    20 +

                                       6/01/18- 5/31/19    1.0350      $202       $371      $455     $658     $742    $894

                                       6/01/17- 5/31/18    1.0463      $196       $359      $440     $636     $717    $864

                                       6/01/16- 5/31/17    1.0369      $187       $343      $421     $608     $685    $826

                                       6/01/15- 5/31/16    1.0089      $180       $331      $406     $586     $661    $796

                                       6/01/14- 5/31/15    1.0235      $179       $328      $402     $581     $655    $789

                                       6/01/13- 5/31/14    1.0244      $175       $320      $393     $567     $640    $771

                                       6/01/12- 5/31/13    1.0258      $170       $312      $383     $554     $625    $753

                                       6/01/11- 5/31/12    1.0352      $166       $305      $374     $540     $609    $734

                                       6/01/10- 5/31/11    1.0337      $161       $294      $361     $522     $589    $709

                                       6/01/09- 5/31/10    1.0220      $155       $285      $349     $505     $569    $686
                                       6/01/08- 5/31/09    1.0399      $152       $279      $342     $494     $557    $671

                                       6/01/07-5/31/08     1.0516      $146        $268      $329    $475     $536    $645

                                       6/01/06-5/31/07     1.0256      $139        $255      $313    $452     $509    $614

                                       6/1/05-5/31/06       1.0427        $136      $249      $305   $441      $497    $598

                                       6/1/04-5/31/05       1.0455        $130      $239      $293   $423      $476    $574
                                       6/1/03-6/1/04        1.0507        $124      $228      $280   $405      $456    $549

                                       6/1/02-5/31/03       1.0727        $118      $217      $267   $385      $434    $522
                                       6/1/01-5/31/02       1.0407        $110      $203      $249   $359      $404    $487
                                       6/1/00-5/31/01       1.0529     $106         $195      $239   $345      $388    $468

                                       6/1/99-5/31/00       1.0491        $101      $185      $227   $328      $369    $444
                                       6/1/98-5/31/99       1.0439         $96      $176      $216   $312      $352    $424

                                       6/1/97-5/31/98       1.0419         $92      $169      $207   $299      $337    $406
                                       6/1/96-5/31/97       1.0396         $88      $162      $198   $287      $323    $389

                                       6/1/95-5/31/96        1.032         $85      $155      $191   $276      $311    $375

http://www.laffeymatrix.com/see.html                                                                                          1/2
10/15/2018                                                                matrix

                                        6/1/94-5/31/95        1.0237          $82      $151      $185    $267     $301     $363


                                       The methodology of calculation and benchmarking for this Updated Laffey Matrix has been
                                       approved in a number of cases. See, e.g., McDowell v. District of Columbia, Civ. A. No. 00-
                                       594 (RCL), LEXSEE 2001 U.S. Dist. LEXIS 8114 (D.D.C. June 4, 2001); Salazar v. Dist.
                                       of Col., 123 F.Supp.2d 8 (D.D.C. 2000).

                                       * “Years Out of Law School” is calculated from June 1 of each year, when most law
                                       students graduate. “1-3" includes an attorney in his 1st, 2nd and 3rd years of practice,
                                       measured from date of graduation (June 1). “4-7" applies to attorneys in their 4th, 5th, 6th
                                       and 7th years of practice. An attorney who graduated in May 1996 would be in tier “1-3"
                                       from June 1, 1996 until May 31, 1999, would move into tier “4-7" on June 1, 1999, and tier
                                       “8-10" on June 1, 2003.

                                       ** The Adjustment Factor refers to the nation-wide Legal Services Component of the
                                       Consumer Price Index produced by the Bureau of Labor Statistics of the United States
                                       Department of Labor.




http://www.laffeymatrix.com/see.html                                                                                              2/2
